 Case 2:20-cv-08791-AB-PVC Document 30 Filed 09/28/21 Page 1 of 1 Page ID #:210



1
                                                                                   JS-6
2
3
4
5
6                            UNITED STATES DISTRICT COURT
7                           CENTRAL DISTRICT OF CALIFORNIA
8
9
                                                  Case No. 2:20-cv-08791-AB (PVCx)
10    KYLE GRAYSON,
11                    Plaintiff,
                                                  ORDER DISMISSING CIVIL ACTION
12    v.                                          WITH PREJUDICE
13    NIKE RETAIL SERVICES, INC.;
14    NIKE, INC.; and DOES 1 through 100,
      Inclusive,
15
                      Defendants.
16
17
           THE COURT has been advised by counsel that the above-entitled action has
18
     been settled;
19
           IT IS THEREFORE ORDERED that this action is hereby dismissed without
20
     costs and without prejudice to the right, upon good cause shown within sixty (60)
21
     days, to re-open the action if settlement is not consummated. This Court retains full
22
     jurisdiction over this action and this Order shall not prejudice any party to this action.
23
     All future Court dates are vacated at this time.
24
25   Dated: September 28, 2021        _______________________________________
                                      ANDRÉ BIROTTE JR.
26                                    UNITED STATES DISTRICT JUDGE
27
28
                                                1.
